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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION


UNITED STATES OF AMERICA,
                                             CRIMINAL ACTION
v.
                                             NO. 1:17-cr-224-AT-CMS
ALLEN PENDERGRASS,


                                    ORDER

        Currently pending before the Court is a motion to dismiss all charges based

on pre-indictment delay. [Doc. 90]. Having reviewed the arguments presented in

the motion and the government’s response, it is apparent that oral argument would

assist the Court in reaching a recommendation regarding the disposition of this

motion. Oral argument is hereby set for Wednesday, February 5, 2020, at 10

a.m. At that hearing, the government should be prepared to advise the Court

regarding:

      when it learned that Fulton County did not intend to pursue a case against

        Mr. Pendergrass;1



       In an email dated November 15, 2019, in connection with a subpoena that
        1

Mr. Pendergrass had served, a representative of Fulton County emailed my
Chambers, stating: “I regret to inform you that this office is not in possession of
any records responsive to [the subpoena]. This case is mistakenly listed as ‘open’
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     the date that that government received the file from the state law

      enforcement officers;2 and

     whether the government was aware in November 2016 that Mr. Pendergrass

      would not be allowed to go to a halfway house because of pending charges

      in the Fulton County.3

      Both sides should be prepared to address whether any court has done what

Mr. Pendergrass asks this Court to do, i.e., determine that his Sixth Amendment

speedy trial rights attached at the time he was arrested by state law enforcement




in the court’s online case management system ‘Odyssey.’ We filed a Decline form
with the court clerk yesterday to have that corrected to show that the case is now
closed.” [Doc. 143-5].
2 On December 4, 2019, in connection with another subpoena, a representative of
the City of Atlanta emailed defense counsel, stating: “I have followed up with
APD and have been advised that they are working to secure the return of [the] hard
copy file they provided to the US Attorney in this matter so that they may comply
with the subpoena as instructed. They have advised that they provided the US
Attorney with their only copy of this file.” [Doc. 143-6].
3 On November 3, 2016, the Federal Bureau of Prisons sought Mr. Pendergrass’s
release to a halfway house. [Doc. 143-2 at ex. G]. According to defense counsel,
the request was denied because of the pending charges in Fulton County—charges
that apparently Fulton County had decided not to pursue.
                                        2
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officers on state charges. Counsel should also be prepared to discuss the Fifth

Amendment due process issues, particularly the caselaw cited in the briefs.

      SO ORDERED, this 21st day of January, 2020.




                                         3
